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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 BRIJE SMITH,

                        Plaintiff,

                        v.                            Case No. 1:19-cv-00580 (TNM)

 EUGENE WRIGHT, et al.,

                        Defendants.




                                             ORDER



       The Plaintiff filed her Complaint on March 1, 2019. Compl., ECF No. 1. As of today,

the Plaintiff has failed to demonstrate proper service upon Defendant Eugene Wright. “If a

defendant is not served within 90 days[,] . . . the court—on motion or on its own after notice to

the plaintiff—must dismiss the action without prejudice or order that service be made within a

specified time.” Fed. R. Civ. P. 4(m). The Court has warned the Plaintiff about this

responsibility. It instructed the Plaintiff to perfect service by June 1, 2019 and made her aware

of Rule 4(m). See Minute Order of May 20, 2019. Nonetheless, the Plaintiff neither

demonstrated service to Defendant Wright nor sought additional time to do so. The Court thus

will dismiss the Complaint as to Eugene Wright.



       For all these reasons, it is hereby

       ORDERED that Eugene Wright is DISMISSED from this case under Federal Rule of

Civil Procedure 4(m).
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       SO ORDERED.

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Dated: July 23, 2019                       TREVOR N. McFADDEN
                                           United States District Judge




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